Case: 4:16-cr-00528-AGF Doc. #: 339 Filed: 10/29/18 Page: 1 of 3 PageID #: 2298



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                  )
                                          )
            Plaintiff,                    )
                                          )                 Case No. 4:16-CR-528-4-AGF
      vs.                                 )
                                          )
                                          )
KERRY ROADES,                             )
                                          )
            Defendant.                    )
                                          )
__________________________________________)

                         MOTION FOR ORDER TO SHOW CAUSE

       COMES NOW Plaintiff, the United States of America, by and through its attorneys, Jeffrey

B. Jensen, United States Attorney for the Eastern District of Missouri, and Joshua M. Jones,

Assistant United States Attorney for this District, and for its Motion for Order to Show Cause,

states as follows:

       1.      On August 29, 2018, this Court entered its criminal judgment against Defendant in

which it ordered him to pay $50,802.30 in restitution, a $20,000 fine, and a $100.00 Special

Assessment. As of the date of this pleading, Defendant still owes $20,100.00.

       2.      The moment this Court entered the judgment, the United States obtained a lien on

all of Defendant’s property and rights to property. See 18 U.S.C. § 3613(c). The United States may

enforce a judgment imposing a fine in accordance with the practices and procedures for the

enforcement of a civil judgment under federal or state law. See 18 U.S.C. § 3613(a). As such, the

United States is empowered to use the civil discovery rules in order to investigate and enforce

criminal restitution judgments. Id.; see also 28 U.S.C. § 3001.
Case: 4:16-cr-00528-AGF Doc. #: 339 Filed: 10/29/18 Page: 2 of 3 PageID #: 2299



       3.      The United States has information that just prior to his sentencing, Defendant

transferred all of his ownership interest in at least two companies—TK Equities, LLC, and Real

BIZ, LLC—to his wife, Tricia Roades. If true, these transfers would be fraudulent under 28 U.S.C.

§ 3304. Moreover, the United States could take steps to seize the businesses’ assets belonging to

Defendant to pay the outstanding balance of the judgment.

       4.      In order to verify that Defendant made the transfers to his wife, the United States

issued subpoenas pursuant to Fed. R. Civ. P. 45 to TK Equities, LLC, Real BIZ, LLC and Ms.

Roades. The subpoenas sought, among other things, information about Defendant’s ownership

interest in the companies, whether he transferred any ownership interest, and when any such

transfers occurred. The responses to the subpoenas were due no later than October 24, 2018. As of

the date of this pleading, neither Ms. Roades nor the two companies have responded to the

subpoenas.

       5.      The United States asks this Court to issue an order to TK Equities, LLC, Real BIZ,

LLC, and Ms. Roades directing them to show cause why they have not timely responded to the

subpoenas. According to the Missouri secretary of state, Ms. Roades is the registered agent for

both TK Equities, LLC, and Real BIZ, LLC. If the Court does issue an order to show cause, the

United States is willing to send a copy of the order via overnight mail, return receipt requested.

       WHEREFORE, the United States prays this Court issue an order to show cause why Tricia

Roades, TK Equities, LLC, and Real BIZ, LLC have not responded to the United States’

subpoenas.
Case: 4:16-cr-00528-AGF Doc. #: 339 Filed: 10/29/18 Page: 3 of 3 PageID #: 2300



                                                     Respectfully submitted,

                                                     JEFFREY B. JENSEN
                                                     United States Attorney


                                                     /s/ Joshua M. Jones
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                                                     Assistant United States Attorney
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                                                     (314) 539-2310
                                                     (314) 539-2287 fax
                                                     joshua.m.jones@usdoj.gov

                                      Certificate of Service

       The undersigned hereby certifies that on October 29, 2018, a copy of the foregoing was

filed via this Court’s CM/ECF system, and therefore served on all parties of record. Further, a copy

of this motion was sent to the following parties via overnight mail, return receipt requested:


Ms. Tricia Raodes
4876 Romaine Spring Drive
Fenton, MO 63026

Real BIZ, LLC
c/o Tricia Roades, Registered Agent
4876 Romaine Spring Drive
Fenton, MO 63026

TK Equities, LLC
Real BIZ, LLC
c/o Tricia Roades, Registered Agent
4876 Romaine Spring Drive
Fenton, MO 63026

                                                               /s/ Joshua M. Jones
                                                               Assistant United States Attorney
